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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                             CASE NO.: 3:09-cr-51-J-34MCR

 SONIA ANTOINETTE DODD,

               Defendant.



  Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction
          Under 18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

        Before the Court is Defendant’s Unopposed Motion for Sentence Reduction Under

 Amendment 782 (Doc. No. 446; Motion) filed on November 23, 2015. In the Motion,

 Defendant seeks to reduce her prison term under 18 U.S.C. § 3582(c)(2) based on

 Amendment 782 to the United States Sentencing Guidelines (USSG), a retroactive

 guideline amendment, see USSG §1B1.10(d) (2014). See Motion at 1. The United States

 does not oppose a reduction. See id. at 2. The parties agree that Defendant is eligible

 for a guideline reduction because Amendment 782 reduces the applicable guideline

 range, see USSG §1B1.10(a)(1). See id. The Court determines that Defendant is eligible

 for a guideline reduction, and adopts the amended guideline calculations agreed upon by

 the parties in the Motion.

        The Court has reviewed the facts in both the original presentence investigation

 report and the October 1, 2015 memorandum from the United States Probation Office.

 Having considered the factors set forth in 18 U.S.C. § 3553(a), as well as the nature and

 seriousness of any danger posed by a reduction of Defendant’s sentence, see USSG
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 §1B1.10, comment (n.1(B)(ii)), the Court finds that a reduction of Defendant’s sentence

 from 175 months to 1551 months is warranted.

         Accordingly, it is hereby

         ORDERED:

         1. Defendant’s Unopposed Motion for Sentence Reduction Under
            Amendment 782 (Doc. No. 446) is GRANTED, in part, and DENIED, in
            part.

         2. The Motion is GRANTED to the extent that the Court reduces
            Defendant’s sentence from a period of imprisonment of 175 months to a
            period of 155 months or time served, whichever is greater. See USSG
            §1B1.10(b)(2)(C).

         3. All other provisions set forth in the Judgment shall remain in full force
            and effect.

         4. Otherwise, the Motion is DENIED.

         DONE AND ORDERED in Jacksonville, Florida, this 1st day of December,
 2015.




 1 The low end of Defendant’s amended guideline range is 140 months. As such, Defendant requests a
 reduction of her sentence to 140 months, and the United States does not oppose her request. See Motion
 at 2. However, the Court finds a reduction to 140 months to be unwarranted. Preliminarily, the Court notes
 that in imposing sentence, the Court found a sentence greater than the low end of the guidelines to be
 appropriate. See Sentencing Transcript (Doc. No. 379; Tr) at 37-59, 81-84, 88-95. Moreover, for the
 reasons stated at sentencing with regard to the Court’s consideration of the 3553 factors, the Court declines
 to reduce Defendant’s sentence below 155 months. See id. It is the Court’s view that any lesser sentence
 would be insufficient under the circumstances of this case to adequately address the statutory purposes of
 sentencing. See also United States v. Williams, 557 F.3d 1254, 1257 (11th Cir. 2009) (once the Court has
 determined that an amendment to the Sentencing Guidelines lowers the defendant’s Guidelines range,
 “whether to reduce the defendant’s sentence, and to what extent, remains discretionary.”) (citation omitted);
 United States v. Vautier, 144 F.3d 756, 762-63 (11th Cir. 1998) (in determining whether and to what extent
 to reduce a defendant’s sentence, a court must consider the factors set forth in 18 U.S.C. § 3553(a), but it
 need not make specific findings as to each factor so long as the record otherwise indicates that the district
 court has considered them).
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 Copies to:

 Counsel of Record

 United States Marshals Service

 United States Probation Office

 Bureau of Prisons
